Case: 1:19-cv-07251 Document #: 1-1 Filed: 11/04/19 Page 1 of 5 PagelD #:17

GROUP EXHIBIT 1
Case: 1:19-cv-07251 Document #: 1-1 Filed: 11/04/19 Page 2 of 5 PagelD #:17

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Reg. No. 5,293,474 Fu@ball-Club St. Pauli v. 1910 e.V. (GERMANY e.V. )
Harald-Stender-Platz |

Registered Sep. 26, 2017 20359 Hamburg FED REP GERMANY

Int. 2 CLASS 9: Information technology and audiovisual equipment, namely, audiovisual receivers;
Cl 9, 14, 15, 16, 18, communications equipment, namely, modems and cell phones; cell phone covers; covers for

21, 24, 25, 28, 41 smartphones; cases for data storage devices, namely, cases for diskettes and compact disks;
cases for spectacles and sunglasses; cases adapted for notebook computers; protective cases

Service Mark for tablet computers

Trademark CLASS 14: Jewels; jewelry ornaments, jewelry; amulets jewellery, jewelry; bracelets;

earrings; chains, jewelry; lapel pins jewellery; pendants; rings jewellery; time instruments,
namely, clocks and watches; clocks and parts therefor; wristwatches; alarm clocks

Principal Register
CLASS 15: Musical instruments; keyboard instruments; string instruments; guitars;
woodwind instruments; percussion instruments; brass instruments; musical accessories,
namely, stands, cases, carrying bags and storage bags; bags specially adapted for holding
musical instruments; cases for musical instruments

CLASS 16: Bags and articles for packaging, wrapping and storage of paper, cardboard or
plastics, namely, paper bags, plastic bags for packing, packaging boxes of paper and
cardboard, and plastic film for wrapping; stationery; writing and stamping implements,
namely, pencils, pens, and stamping inks; thumbtacks; stationery; printed matter, namely,
books and magazines in the field of sports; notebooks; calendars; posters; stickers stationery;
flyers, namely, informational flyers featuring sports

CLASS 18: Luggage, travel bags, wallets and other carriers, namely, carriers for suits, shirts
and dresses; umbrellas and parasols

CLASS 21: Tableware, namely, plates and dishes not of precious metal, cookware, namely,
pots and pans; household containers for foods; glasses, drinking vessels and barware, namely,
seltzer bottles; cups and mugs; beer glasses

de § L f h On a bof CLASS 24: Textile goods, and substitutes for textile goods, namely, drapery; linens, namely,

bet sheets and towels; kitchen and table linens; bed clothes, namely, bed sheets and blankets;

 

Performing the Functions and Outtes of the bath linen; bath sheets; curtains for showers; flags, not of paper, namely, cloth and fabric
Under Secretary of Commerce for flags
intellectual Property and Director of the 8

United States Patent and Trademark Office
CLASS 25: Clothing, namely, t-shirts, sports shirts, sweatshirts, hooded sweatshirts, shirts,
Case: 1:19-cv-07251 Document #: 1-1 Filed: 11/04/19 Page 3 of 5 PagelD #:17

Jackets, pants, skirts and dresses; headgear, namely, hats and caps; footwear; neck scarfs,
mufflers

CLASS 28: Sporting articles and equipment, namely, Balls for playing sports and Ball
pumps; sport balls; festive decorations for Christmas trees, except confectionery and electric
Christmas lights; artificial Christmas trees; decorations for Christmas trees, except
confectionery and electric Christmas lights; toys, namely, Action figure toys; board games;
playthings, namely, puppet theatres; and novelties, namely, novelty toy items in the nature of
artificial plush animal tails

CLASS 41: Education, entertainment and sports, namely, Arranging and conducting of sports
competitions; wagering services; sports and fitness, namely, providing facilities for sports and
physical fitness training; sporting and recreational activities, namely, soccer; gymnasium club
services, namely, gymnasiums; arranging and conducting of concerts; arranging of music
performances, namely, entertainment services in the nature of live musical performances;
training of sports players, namely, sports training services; providing facilities for sports
recreation; provision of sporting club facilities, namely, providing fitness and exercise
facilities; arranging and conducting of sporting events, namely, organizing soccer competition
events

The mark consists of a design of a skull superimposed over crossed bones with the wording
"ST. PAULI" below the design. The square is background and not claimed as a feature of the

mark,

OWNER OF INTERNATIONAL REGISTRATION 1319115 DATED 07-12-2016,
EXPIRES 07-12-2026

No claim is made to the exclusive right to use the following apart from the mark as shown:
"ST. PAULI"

SER. NO. 79-196,274, FILED 07-12-2016
INGRID C EULIN, EXAMINING ATTORNEY

Page: 2 of 3/ RN # 5293474
Case: 1:19-cv-07251 Document #: 1-1 Filed: 11/04/19 Page 4 of 5 PagelD #:17

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Anited States Patent and Trademark Office lg

Reg. No. 5,298,749
Registered Oct. 03, 2017

Int. Cl: 9, 14, 15, 16, 18,
21, 24, 25, 28, 41

Service Mark
Trademark

Principal Register

 

Joseph nated

Performing the Functions and Duties of the
Under Secretary of Commerce for
Intellectual Property and Director of the
United States Patent and Trademark Office

 

Fuball-Club St. Pauli v. 1910 ¢.V. (GERMANY c.V. )
Harald-stender-platz 1

20359 Hamburg

FED REP GERMANY

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Case: 1:19-cv-07251 Document #: 1-1 Filed: 11/04/19 Page 5 of 5 PagelD #:17

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recreation; provision of sporting club facilities, namely, providing fitness and exercise
facilities; arranging and conducting of sporting events, namely, organizing soccer competition
events

The mark consists of a design of a circle containing an inner, shaded circle with a
castle/church design. The inner circle is bordered by with the wording "FC ST. PAULI"
across the top of the circle, a star on the bottom left and right sides, and the number "1910" on
the bottom but all elements still within the outer circle.

OWNER OF INTERNATIONAL REGISTRATION 1319114 DATED 07-12-2016,
EXPIRES 07-12-2026

No claim is made to the exclusive right to use the following apart from the mark as shown:
"FC ST. PAULI 1910"

SER. NO. 79-196,273, FILED 07-12-2016

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